      Case 4:22-cv-00134-AW-MJF Document 174 Filed 03/22/24 Page 1 of 3
   USCA11 Case: 23-10866 Document: 58 Date Filed: 03/22/2024 Page: 1 of 3


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                    For rules and forms visit
Clerk of Court                                                                    www.ca11.uscourts.gov


                                        March 22, 2024

Clerk - Northern District of Florida
U.S. District Court
111 N ADAMS ST
TALLAHASSEE, FL 32301

Appeal Number: 23-10866-GG
Case Style: M.A., et al v. Florida State Board of Education, et al
District Court Docket No: 4:22-cv-00134-AW-MJF

The enclosed copy of the Clerk's Order of Dismissal pursuant to the joint motion to dismiss is
issued as the mandate of this court. See 11th Cir. R. 42-1(a).

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




Enclosure(s)




                                                          DIS-3 Letter and Entry of Dismissal Vol
    Case 4:22-cv-00134-AW-MJF Document 174 Filed 03/22/24 Page 2 of 3
 USCA11 Case: 23-10866 Document: 58 Date Filed: 03/22/2024 Page: 2 of 3




                     IN THE UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT

                                     ______________

                                     No. 23-10866-GG
                                     ______________

M.A.,
By and through his parent Amber Armstrong,
RABBI AMY MORRISON,
CECILE HOURY,
LOURDES CASARES,
KIMBERLY FEINBERG,
SCOTT BERG, et al.,

                                                 Plaintiffs - Appellants
                                                 Cross Appellees,

versus


FLORIDA STATE BOARD OF EDUCATION,
THOMAS R. GRADY,
BEN GIBSON,
MONESIA BROWN,
ESTHER BYRD,
In their official capacities as members of the
board of education, et al.,

                                           Defendants - Appellees
                                           Cross Appellants.
                     __________________________________________

                        Appeal from the United States District Court
                            for the Northern District of Florida
                     __________________________________________

ORDER: The joint motion to voluntarily dismiss the appeal and cross-appeal is GRANTED by
clerk. Pursuant to FRAP 42 and 11th Cir. R. 42-1(a), the above referenced appeal and cross-
appeal were duly entered dismissed on this date.

Effective March 22, 2024.
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                              DAVID J. SMITH
                   Clerk of Court of the United States Court
                      of Appeals for the Eleventh Circuit

                                                FOR THE COURT - BY DIRECTION
